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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 09-61175-CIV-ZLOCH

  TIMOTHY W. BENTON,

               Plaintiff,

  vs.                                                      O R D E R

  TAKHAR COLLECTION SERVICES,
  LTD.,

               Defendant,

  vs.

  BANK OF AMERICA, N.A.,

               Garnishee.

                                      /

        THIS   MATTER   is   before   the   Court   upon    Garnishee   Bank   Of

  America, N.A.’s, Answer Of Garnishee And Demand For Attorney’s Fees

  (DE 23), which the Court construes as a Motion For Attorneys’ Fees,

  and upon the Joint Dismissal Of Garnishment (DE 24), filed herein

  by Plaintiff Timothy W. Benton and Garnishee, Bank of America, N.A.

  The Court has carefully reviewed said Motion and said Stipulation,

  the entire court file and is otherwise fully advised in the

  premises.

        Accordingly, after due consideration, it is

        ORDERED AND ADJUDGED as follows:

        1. Garnishee Bank Of America, N.A.’s, Answer Of Garnishee And

  Demand For Attorney’s Fees (DE 23), which the Court construes as a

  Motion For Attorneys’ Fees, be and the same is hereby GRANTED; and
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        2. The Clerk of the United States District Court for the

  Southern District of Florida is hereby directed to disburse the

  $100.00 in the Registry of the Court to Ana Maria Jhones, Esq.,

  Haley & Associates, P.A., Atrium at Coral Gables, 1500 San Remo

  Avenue, Suite 222, Coral Gables, FL 33146, Counsel for Garnishee

  Bank of America, N.A.; and

        3. The Joint Dismissal Of Garnishment (DE 24) be and the same

  is hereby approved, adopted, and ratified by the Court; and

        4. The Court hereby dissolves the Writ of Garnishment Upon

  Bank of America, N.A.(DE 22).

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

  County, Florida, this         12th         day of June, 2013.




                                       WILLIAM J. ZLOCH
                                       United States District Judge

  All Counsel of Record




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